
PER CURIAM.
We have for consideration an original petition for writ of habeas corpus. A motion by petitioner to vacate his judgment and sentence has been previously filed in the trial court pursuant to Rule 1, Supreme Court Rules of Criminal Procedure, F.S.A. ch. 924 app., and denied by order of the court finding that petitioner is not entitled to the relief requested.
Petitioner here has failed to show a timely pursuit of appellate remedies under the Rule and presents no independent ground for invoking the jurisdiction of this Court. Art. V, Sec. 4, Florida Constitution F.S.A. Mitchell v. Wainwright, Fla.1963, 155 So.2d 868.
The writ is accordingly denied.
DREW, C. J., and TERRELL, THOMAS, ROBERTS and THORNAL, JJ., concur.
